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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


IN RE:                                        :       CHAPTER 7
                                              :
RHANDI DANELL THOMAS,                         :       CASE NO. 16-54216-PMB
                                              :
         Debtor.                              :
                                              :


      AMENDED APPLICATION TO EMPLOY SPECIAL COUNSEL FOR TRUSTEE

         COMES NOW S. Gregory Hays, as Chapter 7 Trustee (the “Trustee” or “Applicant”) for

the bankruptcy estate of Rhandi Danell Thomas (“Ms. Thomas” or “Debtor”), and moves pursuant

to 11 U.S.C. §§ 327(a) and 330 (the “Motion”) to employ Carl E. Douglas of Douglas/Hicks Law,

APC (“Douglas”) and Antablin & Bruce, ALP (collectively with Douglas, “Special Counsel”)

for their representation of Ms. Thomas in certain claims arising out of the death of Darren Burley on

August 3, 2012 (“Incident”). In support of the Motion, Trustee respectfully shows this Court as

follows:

                                     Jurisdiction and Venue

         1.    This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is

a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper pursuant to 28 U.S.C. §§

1408 and 1409(a).

                                           Background

         2.    Ms. Thomas filed a voluntary petition for relief under Chapter 7 of Title 11 of the

United States code on March 4, 2016 (the “Petition Date”).




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          3.    Trustee has investigated the pre-petition claims of Ms. Thomas against certain

individuals arising from the Incident, as set forth above (the “Claims”).

          4.    Ms. Thomas scheduled her interest in the Claims at Question 34 of Schedule A/B:

Property to disclose appropriately the Claims and scheduled an exemption up to 100% fair market

value, up to any applicable statutory limit.

          5.    On her Schedule C: The Property You Claim as Exempt (“Schedule C”), Debtor

scheduled the Claims with a current value as “none” and checked the box indicating a claim of

exemption in the amount of “100% of fair market value, up to any applicable statutory limit”

under O.C.G.A. § 44-13-100(a)(6) (the “Wrongful Death Exemption”). [Doc. No. 1 at page 31

of 63].

          6.    On June 9, 2016, Trustee filed an objection [Doc. No. 13] to Ms. Thomas’s claimed

exemptions, including her Wrongful Death Exemption in the Claims. Following this objection, the

Court entered a consent order [Doc. No. 31] (the “Exemption Order”), limiting Debtor’s claimed

exemptions in the Claims to $11,098.00 under O.C.G.A. § 44-13-100(a)(6) (the “Allowed

Exemption”).

          7.    Prior to the Petition Date, the Claims had been adjudicated, but the award had been

appealed—most recently to the Supreme Court of California, which is the highest court in

California.

          8.    More specifically, Ms. Thomas and her co-plaintiffs obtained a judgment in the Los

Angeles Superior Court against the County of Los Angeles and its employees in the case entitled

Burley et al v County of Los Angeles, Case No. BC505918, arising out of the death of Darren

Burley, the father of Daniel and Dylan Burely. The Burley case was consolidated with two other

cases, Earl v County of Los Angeles, et al. Case No. TC027348 and Scott et al v County of Los




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Angeles, Case No. TC027341. The cases were tried resulting in a verdict and judgments for

Plaintiffs against Defendants County of Los Angeles and Sheriff’s Deputies Aviles and Beserra. The

Defendants filed an appeal from the judgments and the plaintiffs filed cross appeals in the California

Court of Appeal in the consolidated case entitled B.B. v. County of Los Angeles, Court of Appeal

Case No. B264946 (the “Appeal”).

        9.     On July 10, 2018, the Court of Appeal issued a ruling in which it reversed the

amount of the judgments against Defendant Aviles. Specifically, the Court of Appeal held that

Defendant Aviles was only responsible for 20% of the judgments, instead of the original 100% of

the judgment as found by the Superior Court. The Court of Appeal also granted Plaintiffs’ cross

appeal and reinstated Plaintiffs’ claims under the Bane Act (Civil Code Section 52.1) which had

been dismissed before trial by the Superior Court.

        10.    The County of Los Angeles (the “County”) has agreed to pay the 40% portion of the

underlying $8,000,000.00 verdict that is not subject to the petition for review currently being

considered by the California Supreme Court. With interest, the County has agreed to pay Ms.

Thomas two point five percent (2.5%) of the verdict that the court approved, which amounts to

$103,581.39 (the “County Payment”).

        11.    On or about August 18, 2012, prior to the Petition Date, Ms. Thomas entered into a

Contingency Fee Retainer Agreement with Special Counsel, a true and correct copy of which is

attached hereto as Exhibit “B” (the “First Contract”), to pursue the Claims. The Contract

provides that Special Counsel will be paid one-third of any total amount recovered if a complaint is

not filed and 40% of any total amount recovered if a complaint is filed, and in either case will be

reimbursed for out-of-pocket expenses.




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        12.    On September 8, 2015, also prior to the Petition Date, Ms. Thomas entered into a

second retainer agreement (the “Second Contract”) with Douglas in connection with the

Appeal, a true and correct copy of which is attached hereto as Exhibit “C”. The Second

Contract provides that Douglas will receive 10% of any amounts recovered in addition to the

40% paid under the Contract.

        13.    On March 8, 2019, Trustee filed an application [Doc. No. 43] (the “Initial

Employment Application”) to employ Special Counsel. On March 11, 2019, the Court entered

an order [Doc. No. 44], approving the employment of Special Counsel.

        14.    Trustee files this amended employment application to seek approval of the

additional 10% contingency fee. The Second Contract and the additional fee should have been

included in the Initial Employment Application, but were unintentionally omitted.

        15.    Trustee has selected Special Counsel for their well-known experience and

qualifications in this type of litigation and because Special Counsel has been handling the foregoing

Claims for Ms. Thomas pre and post-petition. The verified statements of Special Counsel are

attached and incorporated herein as Exhibit “A-1” and Exhibit “A-2”.

        16.    The professional services Special Counsel may render or may have already rendered

include:

                       (a)     To give Trustee legal advice regarding any trial or

                               settlement offer with respect to the Claims;

                       (b)     To examine and defend the examination of witnesses

                               in the Claims matters in deposition, administrative

                               hearings, or at trial;

                       (c)     To prepare on Trustee's behalf motions, pleadings,




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                               discovery papers, and all other papers reasonably

                               necessary to pursue said Claims;

                       (d)     To prepare form of pre-trial orders, prepare the cases

                               for trial, try the cases, and prosecute any appeals or

                               related proceedings as may arise from the Claims

                               matters; and

                       (e)     To perform all other legal services for Trustee in the

                               Claims matters.

        17.    Special Counsel has not entered into any agreement, expressed or implied, with

the Debtor or any other party in interest herein, or any attorney for any such persons for the

purpose of fixing the amount of fees or any other compensation to be allowed out of or paid from

the assets of the Debtor.

        18.    No agreement or understanding exists between Special Counsel and any other

persons or firms for the sharing of compensation which may be allowed by this Application, and

no such sharing or division shall be made.

        19.    To the best of Trustee's knowledge, Special Counsel acting as special counsel in

this case will be in the best interests of the Bankruptcy Estate, Debtor, creditors, and all other

parties in interest. Said firm does not hold or represent an interest adverse to the estate, does not

represent any creditor or other known interested party, and is a disinterested person under 11

U.S.C. § 327(a), as that term is defined in 11 U.S.C. § 101(14).

        WHEREFORE, Trustee prays that this amended application be granted, enabling him to

retain Counsel as special counsel pursuant to the terms of the First Contract and Second Contract




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and for such purposes as requested herein and that the Court grant such other relief as is just and

proper.

          Respectfully submitted this 25th day of November, 2019.


                                                      ARNALL GOLDEN GREGORY LLP
                                                      Attorneys for Trustee

                                                      By:    /s/ Michael J. Bargar
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                             EXHIBIT “B” FOLLOWS




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                    Reimbursement of costs and expenses is contingent on approval by the United States
                    Bankruptcy Court, Northern District of Georgia and based upon available funds.




                    Payment of any fees is contingent on approval by the United States Bankruptcy Court,
                    Northern District of Georgia and based upon available funds.
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                              EXHIBIT “C” FOLLOWS




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                                  CERTIFICATE OF SERVICE

        This is to certify that I have this day served the foregoing AMENDED APPLICATION TO

EMPLOY SPECIAL COUNSEL FOR TRUSTEE by depositing in the United States mail a copy

of same in a properly addressed envelope with adequate postage affixed thereon to assure

delivery by first class mail to the following entities at the addresses stated:

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        This 25th day of November, 2019.

                                                /s/ Michael J. Bargar
                                                Michael J. Bargar
                                                Georgia Bar No. 645709




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